            Case 1:19-cv-01749-EDK                                    Document 1-1                 Filed 11/12/19             Page 1 of 1
                                                                                                                                         Clear Form


                                    In The United States Court of Federal Claims
                                                                          Cover Sheet
Plaintiff(s) or Petitioner(s)                                                                               19-1749C

Names: Doe No. 1, et al.
Location of Plaintiff(s)/Petitioner(s) (city/state):
Plaintiffs' locations are set forth in their consent forms that will be filed herein at a later date.
(If this is a multi-plaintiff case, pursuant to RCFC 20(a), please use a separate sheet to list additional plaintiffs.)


Name of the attorney of record (See RCFC 83.1(c)): Alice C. Hwang
             Firm Name:                  James & Hoffman, P.C.
Contact information for pro se plaintiff/petitioner or attorney of record:
Post Office Box:
Street Address:                                                   1130 Connecticut Avenue, N.W., Suite 950
City-State-ZIP:                                                   Washington, D.C. 20036
Telephone & Facsimile Numbers:                                    (202) 496-0500; (202) 496-0555 fascimile
E-mail Address:                                                   achwang@jamhoff.com

Is the attorney of record admitted to the Court of Federal Claims Bar?                                            □ Yes      □ No



Nature of Suit Code: 304                                                                                           DOJ
                                                                                       Agency Identification Code: ___________________
Select only one (three digit) nature-of-suit code from the
attached sheet.                                                                        Number of Claims Involved:
Amount Claimed: $ To be determined
                               Use estimate if specific amount is not pleaded.

Bid Protest Case (required for NOS 138 and 140):
Indicate approximate dollar amount of procurement at issue: $

     Is plaintiff a small business?                                              □ Yes        □ No

      Was this action preceded by the filing of a                                □ Yes        □ No           GAO Solicitation No. _____________________
      protest before the GAO?

      If yes, was a decision on the merits rendered?                             □ Yes        □ No

Income Tax (Partnership) Case:
Identify partnership or partnership group: _________________________________________

Takings Case:
Specify Location of Property (city/state):

Vaccine Case:
Date of Vaccination:

Related Case:
Is this case directly related to any pending or previously filed                                      □ Yes           □ No
case(s) in the United States Court of Federal Claims? If yes, you are
required to file a separate notice of directly related case(s). See RCFC 40.2.

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